
The People of the State of New York, Respondent,
againstStanley Noisette, Appellant.




Ronnie James Ritz, for appellant.
Westchester County District Attorney, for respondent (no brief filed).

Appeal from a judgment of the City Court of Mount Vernon, Westchester County (Adrian N. Armstrong, J.), rendered August 14, 2017. The judgment convicted defendant, upon his plea of guilty, of criminal contempt in the second degree (Penal Law § 215.50 [3]), and imposed sentence. Appellate counsel has submitted a brief in accordance with Anders v California (386 US 738 [1967]), seeking leave to withdraw as counsel.




ORDERED that the judgment of conviction is affirmed.
We are satisfied with the sufficiency of the brief filed by defendant's assigned counsel pursuant to Anders v California (386 US 738 [1967]), and, upon an independent review of the record, we conclude that there are no nonfrivolous issues which could be raised on appeal. Counsel's application for leave to withdraw as counsel is, therefore, granted (see id.; People v Murray, 169 AD3d 227 [2019]; Matter of Giovanni S. [Jasmin A.], 89 AD3d 252 [2011]; People v Paige, 54 AD2d 631 [1976]; cf. People v Gonzalez, 47 NY2d 606 [1979]).
RUDERMAN, J.P., ADAMS and TOLBERT, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: October 24, 2019










